84 F.3d 116
    152 L.R.R.M. (BNA) 2405
    TRANS WORLD AIRLINES, INC., William D. Hart, Gary D. Dilley,as Members of the Retirement Board of theRetirement Plan For Pilots of TransWorld Airlines, Inc.,Plaintiffs-Appellants-Cross-Appellees,v.Anthony V. SINICROPI, H.O. Van Zandt, W.A. Murphey, asMembers of the Retirement Board of the RetirementPlan For Pilots of Trans World Airlines,Inc., Defendants-Appellees,William L. Meusel, Jr., Air Line Pilots AssociationInternational,Defendants-Counterclaimants-Appellees-Cross-Appellants.
    Nos. 1618, 1883, Dockets 95-9222(L), 95-9224.
    United States Court of Appeals,Second Circuit.
    Argued May 20, 1996.Decided May 23, 1996.
    
      Appeal from an amended judgment of the United States District Court for the Southern District of New York, Charles S. Haight, Jr., Judge, dismissing complaint seeking review under ERISA, 29 U.S.C. § 1001 et seq., of retirement board decision with respect to terms of pension plan.   See 887 F.Supp. 595 (1995).
      Thomas S. Gigot, Washington, D.C.  (Gary M. Ford, William F. Hanrahan, Groom &amp; Nordberg, Washington, D.C., Alane C. Probst, New York City, on the brief), for Plaintiffs-Appellants-Cross-Appellees.
      Eugene B. Granof, Herndon, Virginia (James K. Lobsenz, Herndon, Virginia, on the brief), for Defendants-Appellees and Defendants-Counterclaimants-Appellees-Cross-Appellants.
      Robert J. DeLucia, Washington, D.C., filed a brief for Amicus Curiae The Airline Industrial Relations Conference, in support of Appellants.
      Before:  KEARSE, WINTER, and CALABRESI, Circuit Judges.
      PER CURIAM:
    
    
      1
      Plaintiffs Trans World Airlines, Inc.  ("TWA"), and William D. Hart and Gary D. Dilley, as members of the Retirement Board of the Retirement Plan For Pilots of Trans World Airlines, Inc.  (the "Board"), appeal from an amended judgment of the United States District Court for the Southern District of New York, Charles S. Haight, Jr., Judge, dismissing their claims that defendants Anthony Sinicropi, H.O. Van Zandt, and W.A. Murphey, as members of the Board, erred in deciding certain pension claims of defendant William L. Meusel, Jr., a former TWA pilot.   The district court granted summary judgment in favor of defendants on the grounds that since the Board was interpreting a pension plan established by agreement between TWA and defendant Air Line Pilots Association International ("ALPA"), which is the collective bargaining representative of TWA's pilots, the Board's decision is to be reviewed under the standards established by the Railway Labor Act ("RLA"), 45 U.S.C. § 151 et seq.  (1994), rather than those provided in the Employee Retirement Income Security Act ("ERISA"), 29 U.S.C. § 1001 et seq.  (1994), and that under RLA standards the Board's decision must be upheld.   On appeal, plaintiffs contend that ERISA applied.   Defendants Meusel and ALPA have cross-appealed, contending that although the Board's decision was not reviewable under ERISA standards, the district court erred in refusing to award them attorney's fees and costs under ERISA.   We reject both challenges and affirm substantially for the reasons stated in Judge Haight's Memorandum Opinion and Order dated May 30, 1995, reported at 887 F.Supp. 595 (1995).
    
    
      2
      We have considered all of the parties' contentions in support of their respective appeals and have found them to be without merit.   The amended judgment of the district court is affirmed.
    
    
      3
      No costs.
    
    